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                              Exhibit 8
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 THE TRANSPARENCY PROJECT,           §
                                     §
               Plaintiff,            §              CIVIL ACTION No. 4:20CV467
                                     §
 v.                                  §
                                     §
 U.S. DEPARTMENT OF JUSTICE, et al., §              JUDGE SEAN D. JORDAN
                                     §
               Defendants.           §

                        MARCH 16TH, 2021 JOINT STATUS REPORT

        In compliance with the Court’s Preliminary Scheduling Order [Dkt. 18], the

parties file the following Joint Status Report concerning the status of each pending FOIA

request:

                                              NSA
                                   10/29/18 & 6/12/20 Requests

        NSA has fully processed both requests and issued final responses to Plaintiff.

                                           DOJ-CRM
                                   10/26/18 & 6/11/20 Requests

                 DOJ-CRM filed a Motion to Dismiss on January 7, 2021 for failure to

exhaust administrative remedies. [Dkt. 20]. As to October 26, 2018 request, Plaintiff

concedes exhaustion and agrees that this claim is due to be dismissed. As to the June 11,

2020 request, DOJ-CRM acknowledges that this lawsuit was filed before DOJ-CRM

issued its final response that no records were found, and therefore dismissal based on

failure to exhaust is improper. DOJ-CRM issued its final response to the June 11, 2020

request on August 25, 2020.


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                                               DOJ-NSD
                                 10/26/18, 6/11/20 & 6/15/20 Requests

        DOJ-NSD has asked Plaintiff for further clarity regarding the June 11, 2020

request by letter dated September 2, 2020, because DOJ-NSD does not process FBI

records. Although the letter is addressed to six components, only the FBI was a party to

the litigation cited in that request, so only the FBI would possess potentially responsive

records to the June 11, 2020 request. To date, Plaintiff has not provided further clarity

regarding this request.

        The October 26, 2018 and June 15, 2020 requests seek the same records. DOJ-

NSD issued an interim response to Plaintiff on March 9, 2021. DOJ-NSD will continue

to search and process records as indicated in the interim response.

                                              DOJ-OIP
                                     10/26/18 & 6/11/20 Requests

        By letter dated July 21, 2020, DOJ-OIP issues its final response to the June 11,

2020 request.

        As to the October 26, 2018 request, DOJ-OIP has completed initial keyword

searches, has begun processing potentially responsive records, and has initiated its

consultation process with other equity-holders. DOJ-OIP anticipates that it will be able

to complete this consultation process and issue a final response by April 15, 2021.

                                                 CIA
                                          5/28/20 & 6/18/20

        Regarding the May 28, 2020 request, CIA intends to assert a Glomar response to

the request outlined in paragraph 11 of the First Amended Complaint, with the exception



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of a portion of paragraph 11(c). [Dkt. 5]. Since tasking the relevant office or offices it

determined are most likely to possess records responsive to paragraph 11(c) of the May

28, 2020 request and paragraph 17 of the June 18, 2020 request, CIA believes it has

located the majority of the responsive records to those two requests; however it is

awaiting final responses from at least one CIA component. Based on the volume of

materials the CIA has located, the CIA anticipates being able to produce responsive

documents by June 4, 2021.

                                               ODNI
                                               6/11/20

        As of the date of the filing of this report, ODNI has not provided an updated

status. This report will be updated upon receipt of ODNI’s status.

                                           DOJ-EOUSA
                                         10/26/18 & 6/11/20

        DOJ-EOUSA has provided its final response regarding the June 11, 2020 request.

DOJ-EOUSA has tasked the United States Attorney’s Office for the District of Columbia

(“USAO-DC”) to conduct a search for responsive records regarding the October 26, 2018

request. USAO-DC has identified potentially responsive records and has been providing

them to DOJ-EOUSA on a rolling basis. DOJ-EOUSA has started its substantive review,

and the records will be provided in interim responses.

                                                 FBI
                                 10/26/18, 6/11/20, 6/15/20 & 6/18/20

        The FBI has identified documents responsive to the plaintiff’s October 26, 2018

and June 11, 2020 requests that have been and continue to be processed for another



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requester. The FBI has released non-exempt records to plaintiff on or about January 27,

2021, and March 5, 2021, and will continue making monthly rolling productions on or

about the 27th of each month thereafter until completion. The FBI has reviewed 5,771

pages and released 25 pages to the Plaintiff; there are approximately 13,755 pages

remaining.

        The FBI is still conducting searches for plaintiff’s June 15 and June 18, 2020

requests and will have an update on those searches before the next status report is due to

the Court.




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                                           PLAINTIFF

        The Plaintiff is awaiting Defendants’ responses and has nothing to report at this

time beyond what the Defendants have reported.



                                           Respectfully submitted,

                                           NICHOLAS J. GANJEI
                                           ACTING UNITED STATES ATTORNEY

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